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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL RAINEY, - Civil No. 3:20-cv-58
Plaintiff (Judge Mariani)
V. .

CYNTHIA LINK, et al.,
Defendants
ORDER
AND NOW, this pea day of January, 2021, upon consideration of Plaintiff's
motion (Doc. 17) for appointment of counsel, and in accordance with the Memorandum
issued this date, IT IS HEREBY ORDERED THAT the motion (Doc. 17) is DENIED without

prejudice.

  

SUM LY
Robert D. Mariani
United States District Judge
